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AO450 (NVD Rev. 2/18) Judgment in a Civil Case




                                  UNITED STATES DISTRICT COURT
                                                 DISTRICT OF NEVADA


LAS VEGAS SKYDIVING
ADVENTURES LLC,                                        JUDGMENT For ATTORNEY FEES IN A CIVIL CASE
                 Plaintiff,
     v.                                                Case Number: 2:18-cv-02342-APG-VCF
GROUPON, INC.,


                                 Defendant.


         Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and
         the jury has rendered its verdict.

         Decision by Court. This action came to trial or hearing before the Court. The issues have been tried
         or heard and a decision has been rendered.

         Decision by Court. This action came for consideration before the Court. The issues have been
         considered and a decision has been rendered.

         IT IS ORDERED AND ADJUDGED
that judgment for attorney fees is awarded in favor of Defendant Groupon, Inc. for $325,000 in fees against
Plaintiff Las Vegas Skydiving Adventures LLC.




         7/11/2022
         ____________________                                 DEBRA K. KEMPI
         Date                                                Clerk



                                                               /s/ Y. Williams
                                                             Deputy Clerk
